
BASKIN, Judge.
We reverse the order adjudicating R.M. delinquent based upon our finding that the conviction for grand theft was not supported by the evidence. The state failed to demonstrate that R.M. had either the requisite intent to steal the automobile or knowledge that the vehicle he was driving was stolen. State v. Lewis, 364 So.2d 1223 (Fla.1978); State v. Allen, 362 So.2d 10 (Fla.1978); R.M. v. State, 412 So.2d 44 (Fla. 3d DCA 1982). R.M.’s “unrefuted, exculpatory and not unreasonable explanation of his possession” of the stolen automobile— that he borrowed it from his stepfather— “rendered the state’s case ... insufficient as a matter of law to establish guilt.” R.A.L. v. State, 402 So.2d 1337 (Fla. 3d DCA 1981). See Fisk v. State, 138 Fla. 815, 190 So. 10 (1939); R.M. v. State; A.R. v. State, 393 So.2d 1174 (Fla. 3d DCA 1981).
Reversed.
